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         Exhibit F
     Case 1:18-cv-11642-VM-VF Document 376-6 Filed 11/18/22 Page 2 of 6


From:
To:
Subject:           FW: HKIAC/A18221 - Zhongzhi Hi-Tech Overseas Investment Ltd. v. Link Motion Inc.
Date:              Friday, November 18, 2022 1:48:55 PM
Attachments:       image001.jpg
                   20200904 HKIAC A18221 Statement of Account.pdf




From: Byron Perez <            @         .       On Behalf Of arbitration
Sent: Thursday, September 3, 2020 10:02 PM
To:                <               @                .        '         <       . @      .
Robert Seiden <          @                   .com>;                <       @          .
<        @          .          '           .        @          .    . <           . @   .             .
'    .           @               .      .hk' <       .           @         .      .       .
– DaHui <               .             @                 .                     <     @      .
            <           @           .                        <     @            .
'     .       @                  .        <       .         @            .
' @                       .        < @                         .
<         @           .                            <      .      @               .
       .       –         <                     .       @               .com>;
<    .     @                 .
Cc: Byron Perez <           @         .
Subject: RE: HKIAC/A18221 - Zhongzhi Hi-Tech Overseas Investment Ltd. v. Link Motion Inc.

Dear Sirs/Mesdames,

We acknowledge receipt of US$10,000 (approx. HK$77,199.67) from Respondent, representing
“partial payment” of its share of the supplementary deposit for the fees and expenses of the arbitral
tribunal, i.e., HK$237,500.

The current statement of account is attached for the parties’ and the arbitral tribunal’s reference.

We look forward to receiving Claimant’s share of the supplementary deposits.

Yours sincerely,
Byron Perez

Byron Perez
Counsel | Hong Kong International Arbitration Centre
Address: 38/F, Two Exchange Square, 8 Connaught Place, Central, Hong Kong
Direct: +852 2912 2215 Tel: +852 2525 2381
Fax: +852 2524 2171 E-mail: bperez@hkiac.org
Webpage: http://www.hkiac.org
_____________________________________________________________________
_____________________________________________________________________
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attachments are free of viruses as we can take no responsibility for any computer virus which might be transferred by way of
this email.




From: Amiad Kushner <                  @               .
Sent: Thursday, September 3, 2020 11:09 AM
To: Byron Perez <            @        .org>
Cc: arbitration <              @         .     '                <       . @              .
          <       @                 .                          <        @             .
<         @          .          '          .       @              .    . <Randall.      @  .                         .
'     .            @              .     . <          .              @         .     .        .
–          <             .            @                  .                      <       @     .
              <          @hkiac.                              <       @           .
'      .        @                 .        <     .           @              .
' @                        .        < @                           .
<           @          .                           <       .        @              .
        .        –        <                  .         @                  .
<xing.       @                .
Subject: RE: HKIAC/A18221 - Zhongzhi Hi-Tech Overseas Investment Ltd. v. Link Motion Inc.

Mr. Perez,

Further to the email below from Mr. Steven Seiden, who is a representative of the court-appointed
Receiver for Respondent Link Motion, Inc., I write on behalf of Respondent to confirm that
Respondent is making a partial payment of USD 10,000 (approximately 77,500 HKD) towards the
237,500 HKD supplementary deposit requested from each party. Respondent has limited financial
resources and requests additional time to endeavor to make up the balance. We would be grateful
     Case 1:18-cv-11642-VM-VF Document 376-6 Filed 11/18/22 Page 4 of 6


for any accommodation that HKIAC can provide in this regard.

Regards,

Amiad Kushner
澳
Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (       -
Mobile: (        -
www.seidenlegal.com
澳
From:                <       @           .
Sent: Wednesday, September 2, 2020 10:49 PM
To: arbitration <        @      .
Cc:                <        @            .
Subject: RE: HKIAC/A18221 - Zhongzhi Hi-Tech Overseas Investment Ltd. v. Link Motion Inc.

Dear Mr. Perez, in accordance with the below and at your request, kindly note that a wire transfer in
the amount of $10,000.00 USD has been processed and remitted to the HKIAC on behalf of Link
Motion, Inc. (reference number         /                                      Please note that the
wire amount is a good faith payment toward the amount due to the HKIAC. Link Motion, Inc. is
currently in Temporary Receivership and under the supervision of the U.S. District Court for the
Southern District of New York and there are very limited funds available in the corpus of the
Receivership estate at this time. The Receiver and his team are working diligently to recover, secure
and maintain assets of Link Motion, Inc. as per the Court Order appointing the Temporary Receiver.
Please confirm receipt of the funds on your end once they arrive. Thank you. All the best, Steve.

From: Byron Perez [           :          @     .         On Behalf Of arbitration
Sent: Monday, August 24, 2020 12:22 AM
To: Mark Young <         .          @                   .                     .       –
<              .         @                   .                     <       . @          .
'     .           @               .      . <        .             @           .   .
<     .      @                .          '      .          @          .     .
<        .       @              .     .                       <        @            .
<       @           .                             <          @             .com>;
<       @             .                  B.    <          @             .
<            @             .com>
Cc: '      .      @                    .    <         .        @                .
' @                        .        < @                         .       '
<        @              .
Subject: RE: HKIAC/A18221 - Zhongzhi Hi-Tech Overseas Investment Ltd. v. Link Motion Inc.

Dear Sirs/Mesdames,
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We write with reference to the captioned case.

In accordance with the instructions of the arbitral tribunal and Article 41.3 of the 2018 HKIAC
Administered Arbitration Rules, we request payment of supplementary deposit for the fees and
expenses of the arbitral tribunal in the amount of HK$ 475,000, i.e., HK$237,500 per party.

Please make payment by bank transfer to the following account of HKIAC (or by cheque drawn to
“Hong Kong International Arbitration Centre”):

A/C Name:          Hong Kong International Arbitration Centre
A/C No:               -       -
Bank:

Swift Code:                HHH

If any party wishes to pay by bank transfer, please identify the paying party and the HKIAC reference
number “        /          when making the payment and notify us with proof of remittance once
payment is made. Please note that all bank charges are to be borne by the remitting party.

Please also note that HKIAC will only ever request that deposits be transferred to an account in the
name of “Hong Kong International Arbitration Centre.”

Yours sincerely,
Byron Perez


Byron Perez
Counsel | Hong Kong International Arbitration Centre
Address: 38/F, Two Exchange Square, 8 Connaught Place, Central, Hong Kong
Direct: +852 2912 2215 Tel: +852 2525 2381
Fax: +852 2524 2171 E-mail: bperez@hkiac.org
Webpage: http://www.hkiac.org
_____________________________________________________________________
_____________________________________________________________________




SAVE THE DATE:
HKIAC 35th Anniversary Celebration (5 May 2020 | Hong Kong)
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